                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

RIPPY OIL COMPANY          §
Plaintiff                  §
                           §
VS.                        §                   CIVIL ACTION NO. 4:22-CV-00276
                           §
ACE AMERICAN INSURANCE     §
COMPANY, CHARTIS SPECIALTY §
INSURANCE COMPANY N/K/A    §
AIG INSURANCE CMPANY,      §
SPECIALTY INSURANCE        §
COMPANY, AND RISK          §
SPECIALISTS COMPANIES      §
INSURANCE AGENCY, INC.     §                   (JURY DEMANDED)
COMPANY)                   §
Defendants                 §

                    UNOPPOSED MOTION FOR EXTENSION OF
                    TIME TO FILE RESPONSE IN OPPOSITION

TO THE HONORABLE JUDGE OF SAID COURT:

      Plaintiff, Rippy Oil Company (“Rippy Oil”), respectfully requests the entry of an

order extending the time within which Rippy must file its response to the Motion to

Dismiss, or in the alternative, To Transfer or Stay filed February 1, 2022 by Defendants

AIG Specialty Insurance Company (formerly known as Chartis Specialty Insurance

Company) (“AIG”) and Risk Specialists Companies Insurance Agency, Inc. (“Risk

Specialists”) (Doc. 4) and Joinder in Motion (Doc. 8) filed by ACE American Insurance

Company (“ACE”), and in support thereof would show the Court as follows:

1.    AIG and Risk Specialists removed this case from the 133rd Judicial District Court

for Harris County, Texas on January 27, 2022. (Doc. 1). The thirty (30) day deadline for

a Motion to Remand based on procedural defects falls on Saturday, February 26, 2022

and is therefore extended to Monday, February 28, 2022. 28 U.S.C. § 1447(c).

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2.     AIG and Risk Specialists filed their Motion to Dismiss, or in the alternative, To

Transfer or Stay on February 1, 2022, (Doc. 4) making Rippy Oil’s original response

deadline February 22, 2022. (LR 7.3).

3.     ACE filed a Joinder in AIG’s and Risk Specialists’ Motion to Dismiss, or in the

alternative, to Transfer or Stay on February 10, 2022 (Doc. 8) making Rippy Oil’s

original response deadline to the Joinder March 3, 2022 (LR 7.3).

4.     Rippy Oil filed a Second Unopposed Motion for Extension of Time to File a

Response to March 15, 2022 (Doc. 18), but is in need of additional time to respond to

both AIG’s and ACE’s Motions.

5.     Rippy Oil requests an additional short, seven (7) day extension of time, up to and

including March 22, 2022, to respond to the AIG and Risk Specialists Motion to Dismiss,

or in the alternative, to Transfer or Stay and Joinder in Same by ACE. If granted this

would result in a 30 day extension from the original response deadline referenced in

paragraph 2 above.

6.     All counsel-of-record have been contacted and they have no opposition to the

relief sought herein.

7.     There is good cause for the extension of time. Plaintiff Rippy Oil needs further

time to analyze the Motion, and Joinder, and determine whether a Motion to Remand is

in order and respond to the Motion to Dismiss, or in the alternative, to Transfer or Stay

and Joinder. Additionally, a key attorney for Plaintiff Rippy Oil, lead attorney in the

underlying Leon County State Court lawsuit and on Plaintiff’s Original Petition filed in

the 133rd Judicial District Court of Harris County, Texas (Doc. 1-2, p. 22),


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Kenneth Tekell Sr. had unexpected major heart surgery on February 7, 2022 and has only

recently recovered sufficiently to be actively involved with responding to the Motion and

Joinder in question. Moreover, on February 25, 2022, Knight Oil Tools, Inc. filed a

Petition for Review in the Texas Supreme Court. Attorneys for Rippy Oil has been

working on responding to same and filed its response with the Texas Supreme Court on

March 15, 2022. Finally, Rippy Oil has been preparing and recently filed, on March 15,

2022, a Motion for Abstention and to Dismiss or in the alternative Stay or Transfer and

Memorandum of Law in support thereof in the Louisiana Federal Court to which AIG,

Risk Specialist, and ACE seek transfer. (See Exhibit 1 attached hereto).

8.     The requested extension will serve the purposes of substantial and procedural due

process and promote the proper sequence of determining procedural motions such as a

Motion to Remand, if any filed, and Defendant’s Motion to Dismiss, or in the alternative,

to Transfer or Stay and Joinder in same.

9.     The Court entered an Order for Initial Pretrial and Scheduling Conference on

February 3, 2022, setting that conference for May 26, 2022. (Doc. 5). Accordingly, this

extension will not interfere with the time set for the Court’s Order for Initial Pretrial and

Scheduling Conference or any other deadline pursuant to Federal Rule of Civil Procedure

26, leading up to the May 26, 2022 Scheduling Conference.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Rippy Oil Company

respectfully requests that this Honorable Court enter an order granting it a seven (7) day

extension of time, up to and including March 22, 2022, to file responsive pleadings to

AIG’s and Risk Specialists Motion to Dismiss, or in the alternative, to Transfer or Stay


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(Doc.1) and Joinder in same by ACE (Doc. 8), and for such other and further relief to

which Plaintiff Rippy Oil Company shows itself justly entitled.

                                                    Respectfully submitted,

                                                    Taylor, Book, Allen & Morris, L.L.P
                                                      /s/ Mike Morris
                                                    Mike Morris
                                                    Attorney-in-charge
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                                                    mmorris@taylorbook.com
                                                    Attorneys for Plaintiff, Rippy Oil
                                                    Company

                           CERTIFICATE OF CONFERENCE

        I certify that counsel of record for Plaintiff Rippy Oil Company has conferred with
all counsel-of-record for Defendants AIG, Risk Specialists and ACE who have indicated
that they have no opposition to this unopposed Motion for Extension of Time.

                                                            /s/ Mike Morris


                                CERTIFICATE OF SERVICE

        I certify that on this 16th day of March, 2022, a true and correct copy of the foregoing
instrument was served via electronic means through transmission facilities from the Court upon
those parties authorized to participate and access the Electronic Filing System for the Southern
District of Texas:
                                                            /s/ Mike Morris




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